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                                            THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX                 LAW DEPARTMENT                                                THOMAS LAI
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                                                                    January 27, 2023

       VIA ECF
       Honorable Ona T. Wang
       United States Magistrate Judge
                                            MEMO ENDORSED.
       United States District Court
       Southern District of New York
       500 Pearl Street
       New York, NY 10007

               Re:     Pedro Almonte et al. v. The City of New York et al., 22-CV-02903 (JPC)(OTW)

       Your Honor:

              I am a Senior Counsel in the Office of the Hon. Sylvia O. Hinds-Radix, Corporation
       Counsel of the City of New York, and attorney for defendants City of New York, Pedro Roche,
       Kevin Harding, and Robert Divers (“City Defendants”). I write to respectfully request that the
       Court adjourn the February 1, 2023 initial conference to a future date and time convenient to the
       Court. ECF No. 21. This is the first request for an adjournment and plaintiffs consent to this
       request.

               By way of background, plaintiffs Pedro Almonte, Heury Almonte, Genaro Almonte,
       Xiomara Almonte, and Anabel Almonte on behalf of her minor child, C.A, bring this action,
       pursuant to 42 U.S.C. § 1983, against the City Defendants and John Does 1-4, alleging, inter alia,
       that, on April 8, 2019, defendants Roche, Harding, and Divers unlawfully searched plaintiffs’
       home and subjected them to excessive force. Plaintiffs further allege that plaintiff Pedro Almonte
       was prosecuted without probable cause. Additionally, plaintiffs purport to bring a Monell claim
       against the City of New York under a failure to train theory of liability.

               This matter was just transferred to the undersigned from another Assistant Corporation
       Counsel who is no longer with this office and the undersigned recently assumed representation on
       behalf of the City Defendants. As such, additional time is needed to fully review the case file and
       the discovery produced to date so that I can meaningfully confer with plaintiff in accordance with
       Your Honor’s Initial Case Management Conference Order.
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       Thus, City Defendants respectfully request that the February 1, 2023 initial conference be
adjourned to a future date and time convenient for the Court. The parties have conferred and are
available on March 1, 2023 or March 7, 2023. Thank you for your consideration of the instant
application.

                                                           Respectfully submitted,

                                                           Thomas Lai /s
                                                           Thomas Lai
                                                           Senior Counsel
                                                           Special Federal Litigation Division

To:    VIA ECF
       Glenn Andrew Garber
       Robert Howard Rickner
       Stephanie Panousieris
       Attorneys for Plaintiff


      Application GRANTED. The Initial Case Management Conference previously scheduled for
      February 1, 2023, is hereby adjourned to Tuesday, April 4, 2023 at 11:30 a.m.

      SO ORDERED.




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      Ona T. Wang             1/30/23
      U.S.M.J.




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